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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

SP SNT HOLDINGS, LLC, and                )
                                         )
KEVIN WAGNER,                            )
                                         )
        Plaintiffs,                      )
                                         )
v.                                       )
                                         )
SOCIAL NETWORKING                        )
TECHNOLOGY, INC.,                        )
                                         )
STUART BRUCK,                            )
                                         )
DAVID M. MCNAMEE,                        )
                                         )
KEVIN OWENS,                             )
                                         )
MASSIMO MESSINA,                         )
                                         )
and                                      )
                                         )
SHARON AMEZCUA,                          )


      Defendants.
_____________________________________________________________

                                  COMPLAINT

        Plaintiffs, SP SNT HOLDINGS, LLC, a South Dakota limited liability company

(“SP SNT”), and Kevin Wagner, individually (“Wagner”), sue Defendants, SOCIAL

NETWORKING TECHNOLOGY, INC., a Nevada corporation (“Company”), STUART

BRUCK, an individual (“Bruck”), DAVID M. MCNAMEE, an individual (“McNamee”),

KEVIN OWENS, an individual (“Owens”), MASSIMO MESSINA, an individual

(“Messina”), and SHARON AMEZCUA, an individual (“Amezcua”), and allege:

                                    PARTIES
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       1.        SP SNT is a limited liability company organized under the laws of South

Dakota, with its principal place of business in Florida.

       2.        Wagner is an individual residing in the state of Texas.

       3.        Company is a Nevada corporation, having a principal place of business, and

transacting business, in the state of Kansas.

       4.        Upon information and belief, Bruck is an individual residing in the state of

Kansas.

       5.        Upon information and belief, McNamee is an individual residing in the state

of Florida.

       6.        Upon information and belief, Owens is an individual residing in the state of

Kansas.

       7.        Upon information and belief, Messina is an individual residing in the state

of California.

       8.        Upon information and belief, Amezcua is an individual residing in the state

of Florida.

                              JURISDICTION AND VENUE

       9.        Jurisdiction is proper in this Court under 28 U.S.C. § 1331 because Plaintiff

makes claims that arise under the laws of the United States.

       10.       Supplemental jurisdiction on Plaintiff’s state law claims is proper in this

Court under 28 U.S.C. § 1367 because they are so related to claims in the action within the

Court’s original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.

       11.       This Court has jurisdiction over Defendants Bruck, McNamee, Owens,



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Messina, and Amezcua under Kansas’ long arm statute because they have transacted

business in the state of Kansas and have committed tortious acts in the state of Kansas.

       12.     Venue is proper in the District of Kansas because the Company resides in

the State of Kansas, maintains its principal place of business in the state of Kansas, and

otherwise transacts business in the state of Kansas.

       13.     Venue is proper in the District of Kansas because the actions complained of

herein took place in Kansas.

       14.     All conditions precedent to bringing this action have been complied with,

waived, excused or otherwise met.

                       GENERAL FACTUAL ALLEGATIONS

       15.     At all material times, Defendants orchestrated a scheme to raise capital for

the development, operation and marketing of the Company’s business including, its

operations in Kansas. Defendants created an organized ring of sales people, agents, and

attorneys, to actively market and advertise their business and to generally solicit a broad

audience of investors for same.

       16.     In or about December 2016, this organized ring solicited Plaintiffs to make

an investment in the Company by purchasing shares of the Company’s common stock.

       17.     In or about December 2016, and prior to their investments in the Company,

Defendants made numerous material misrepresentations to Plaintiffs including that: (a)

Amezcua had personally invested money in the Company, (b) Amezcua was a successful

banker specializing in technology companies and had built over 700 companies, (c) the

Company had sufficient capital and cash flow to continue it operate its business, and was

securing additional investments solely for growth, and (d) the Company had proven,



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proprietary artificial intelligence technology that provided it a competitive advantage in the

marketplace.

       18.     Plaintiffs relied on these representations in making their investment

decisions.

       19.     These representations were material to Plaintiff’s investment decisions.

       20.     In December 2016, Plaintiffs were presented with a Subscription

Agreement, prepared by a law firm, that represented that the sale of securities by the

Company did not have to be registered because the offering was exempt from registration

pursuant to Section 4(a)(2) of the Securities Act of 1933 (the “Securities Act”).

       21.     In furtherance of the investment and relying upon Defendants as to validity

of the offering, Plaintiff SP SNT executed a Subscription Agreement on or about December

16, 2016 and made its investment in the company. Plaintiff Wagner executed a

Subscription Agreement on or about December 22, 2016 and made his investment in the

Company.

       22.     After they purchased the investment, Defendants discovered that contrary

to the representations of Defendants, Amezcua had not personally made an investment in

the Company, Amezcua was not a successful banker specializing in technology companies

and had not built over 700 companies, the Company did not have sufficient capital to

operate its business, and the Company did not have proven, proprietary artificial

intelligence technology that provided it a competitive advantage in the marketplace.

       23.     Further, Defendants failed to disclose that the Company was paying

Amezcua, an unregistered broker, transaction-based fees for soliciting investors including

the investment being made by Plaintiffs.



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        24.    In addition, Company failed to disclose that Bruck had then recently been

accused of sexual harassment and had settled such claim.

        25.    If Plaintiffs had known of the above described misrepresentations and

omissions, they would not have invested in the Company.

        26.    Defendants further misrepresented that the offering of securities was made

in a manner to comply with the requirements of Section 4(a)(2) of the Securities Act and

that it was otherwise exempt from registration.

        27.    The securities Defendants sold to Plaintiffs were not a federally covered

security, and the Kansas Uniform Securities Act (hereinafter “KUSA”) applied to their

sale.

                            COUNT I
ACTION UNDER SECTION 12(a)(1) OF THE SECURITIES ACT FOR FAILURE
    TO COMPLY WITH FEDERAL REGISTRATION REQUIREMENTS
                       (against Defendants)


        28.    Plaintiffs re-allege paragraphs 1 through 27 as though fully set forth herein.

        29.    This is an action for rescission pursuant to Section 12(a)(1) of the Securities

Act of 1933.

        30.    The Company sold its common stock to Plaintiffs.

        31.    The Company sold its common stock in the absence of a registration

statement or failure to meet prospectus requirements.

        32.    The Company used the mail or facilities of interstate commerce in

connection with the sale or offer.

        33.    Plaintiffs have been damaged as a result of the Company’s aforementioned

actions.



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       34.     Plaintiffs have retained the undersigned to represent it in this action and

have agreed to pay a reasonable attorneys’ fee for services.

               WHEREFORE, Plaintiffs hereby demand judgment against the Company,

decreeing the rescission of the monetary investment and consistent therewith, for

restitution damages equal to the amount of their investment of $1,000,000, plus interest

thereon, together with the reasonable attorneys’ fees and costs incurred, and any other relief

this Court deems just and proper.


                              COUNT II
ACTION UNDER SECTION 15 OF THE SECURITIES ACT FOR FAILURE TO
     COMPLY WITH FEDERAL REGISTRATION REQUIREMENTS
         (against Bruck, McNamee, Owens, Messina, and Amezcua)


       35.     Plaintiffs re-allege paragraphs 1 through 34 as though fully set forth herein.

       36.     This is an action for rescission pursuant to Section 15 of the Securities Act.

       37.     As set forth in Count I above, the Company is a primary violator of Section

12 of the Securities Act.

       38.     At the time of such violation, Bruck, McNamee, Owens, Messina, and

Amezcua were in possession, direct or indirect, of the power to direct or cause the direction

of the management and policies of the Company, whether through the ownership of voting

securities, by contract, or otherwise, and thereby, are jointly and severally responsible with

the Company for the violation of Section 11 of the Securities Act by the Company.

       39.     Plaintiffs have been damaged as a result of the aforementioned actions of

the Company, Bruck, McNamee, Owens, Messina, and Amezcua.

       40.     Plaintiffs have retained the undersigned to represent it in this action and

have agreed to pay a reasonable attorneys’ fee for services.

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                WHEREFORE, Plaintiffs hereby demand judgment against Bruck,

McNamee, Owens, Messina, and Amezcua decreeing the rescission of the monetary

investment and consistent therewith, for restitution damages equal to the amount of their

investment of $1,000,000, plus interest thereon, together with the reasonable attorneys’

fees and costs incurred, and any other relief this Court deems just and proper.


                                    COUNT III
                       ACTION FOR SALE OF UNREGISTERED
                        SECURITIES IN VIOLATION OF KUSA
                                (against Defendants)


        41.     Plaintiffs re-allege paragraphs 1 through 40 as though fully set forth herein.

        42.     This is an action for rescission for the selling of unregistered securities

pursuant to K.S.A. § 17-12a509(b) and K.S.A. § 17-12a301.

        43.     Kansas law required the Company to register the securities sold to Plaintiffs.

        44.     The Company sold nonregistered securities to Plaintiffs in violation of the

KUSA.

        45.     Defendants personally participated and aided in the sale of the nonregistered

securities to Plaintiffs.

        46.     The securities were not exempt from registration pursuant to Kansas or

Federal law.

        47.     The securities were not sold in an exempted transaction pursuant to Kansas

or Federal law.

        48.     The securities were not a federal covered security because the Company

failed to comply with federal requirements for preemption of state securities laws.

        49.     Bruck, McNamee, Owens, Messina, and Amezcua were control persons

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pursuant to K.S.A. § 17-12a509(g)(2) and are jointly and severally liable with Company.

       50.     Pursuant to K.S.A. § 17-12a509(b)(1), Plaintiffs rescind their purchase of

the securities for failure to register the securities as required by K.S.A. § 17-12a509(b)(1),

demanding return of their investment of $1,000,000 plus applicable statutory interest

thereon.

       51.     Plaintiffs have retained the undersigned to represent them in this action and

have agreed to pay a reasonable attorneys’ fee for services. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs pursuant to K.S.A. § 17-12a509(b)(1).

       52.     All conditions precedent to bringing this action have been complied with,

waived, excused or otherwise met by Plaintiffs.

       WHEREFORE, Plaintiffs hereby demand judgment against Defendants decreeing

the rescission of the monetary investment and consistent therewith, for restitution damages

equal to the amount of their investment of $1,000,000, plus interest thereon, together with

the reasonable attorneys’ fees and costs incurred, and any other relief this Court deems just

and proper.

                                COUNT IV
               ACTION FOR NEGLIGENT MISREPRESENTATION
                            (against Defendants)

       53.     Plaintiffs re-allege paragraphs 1 through 52 as though fully set forth herein.

       54.     Defendants made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading. Those misrepresentations included:

               a.      Amezcua had personally invested money in the Company,




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                b.     Amezcua was a successful banker specializing in technology

companies and had built over 700 companies,

                c.     the Company had sufficient capital and cash flow to continue it

operate its business, and was securing additional investments solely for growth,

                d.     the Company had proven, proprietary artificial intelligence

technology that provided it a competitive advantage in the marketplace, and

          55.   Defendants    either   knew       of   the   misrepresentations,   made   the

misrepresentations without knowledge of its truth or falsity, or should have known the

representations were false.

          56.   Defendants intended such misrepresentations to induce Plaintiffs to make

their monetary investment.

          57.   Plaintiffs justifiably relied to their detriment on such misrepresentations,

having suffered injury as described herein.

          58.   All conditions precedent to bringing this action have been complied with,

waived, excused or otherwise met by Plaintiffs.

          WHEREFORE, Plaintiffs hereby demand judgment in their favor and against

Defendants for damages equal to the amount of their investment of $1,000,000, plus

interest thereon, together with costs incurred, and any other relief this Court deems just and

proper.

                               COUNT V
          ACTION FOR MISREPRESENTATIONS MADE IN THE SALE OF
                     SECURITIES PURSUANT TO KUSA
                           (against Defendants)

          59.   Plaintiffs re-allege paragraphs 1 through 58 as though fully set forth herein.

          60.   This is an action for rescission pursuant to K.S.A. §§17-12a509(b).

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          61.   To obtain Plaintiffs’ investment, Defendants made misrepresentations and

untrue statements of material facts or omitted to state material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading, including:

                a.       Amezcua had personally invested money in the Company,

                b.       Amezcua was a successful banker specializing in technology

companies and had built over 700 companies,

                c.       the Company had sufficient capital and cash flow to continue it

operate its business, and was securing additional investments solely for growth,

                d.       the Company had proven, proprietary artificial intelligence

technology that provided it a competitive advantage in the marketplace, and

          62.   Plaintiffs did not know of these untruths or omissions.

          63.   Plaintiffs made the monetary investment in the Company in reasonable

reliance upon and as a result of the actions and omissions of Defendants complained of

herein.

          64.   The actions and omissions of Defendants complained of herein violated

K.S.A. § 17-12a509(b).

          65.   Because of such violations, Plaintiffs rescind their monetary investment

pursuant to K.S.A. § 17-12a509(b)(1), demanding return of their investment of $1,000,000

plus applicable statutory interest thereon.

          66.   Plaintiffs have retained the undersigned to represent it in this action and

have agreed to pay a reasonable attorneys’ fee for services. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs pursuant to K.S.A. § 17-12a509(b)(1).



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       67.      All conditions precedent to bringing this action have been complied with,

waived, excused or otherwise met by Plaintiffs.

       WHEREFORE, Plaintiffs hereby demand judgment against Defendants decreeing

the rescission of the monetary investment and consistent therewith, for restitution damages

equal to the amount of their investment of $1,000,000, plus interest thereon, together with

the reasonable attorneys’ fees and costs incurred, and any other relief this Court deems just

and proper.

                          COUNT VI
 ACTION FOR PAYMENT OF UNDISCLOSED COMMISSIONS OR FINDER’S
                  FEES PURSUANT TO FSIPA
                      (against Defendants)

       68.      Plaintiffs re-allege paragraphs 1 through 67 as though fully set forth herein.

       69.      This is an action for rescission pursuant to K.S.A. § 17-12a509(d) and § 17-

12a509(b)(1).

       70.      At all material times, Amezcua, for consideration received or to be received

directly or indirectly from the Company or from an agent or employee of the Company,

advertised, circulated, communicated, and published for sale the securities of Company to

Plaintiffs, and failed to fully disclose the receipt, whether past or prospective, of such

consideration and the amount of the consideration in violation of K.S.A. § 17-12a509(d)

and 17-12a509(b)(1).

       71.      Amezcua was not licensed as a broker/agent as required by KUSA.

       72.      Company was acting as an unregistered broker-dealer, and paying

commissions to an unregistered broker/agent in violation of K.S.A. § 17-12a401.

       73.      Bruck, McNamee, Owens, and Messina are jointly and severally liable with

the Company pursuant to K.S.A. §17-12a509(g)(2).

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       74.     Pursuant to K.S.A. § 17-12a509(d) and 17-12a509(b)(1), Plaintiffs rescind

their purchase of the securities in Company, demanding return of their investment of

$1,000,000 plus applicable statutory interest thereon.

       75.     Plaintiffs have retained the undersigned to represent it in this action and

have agreed to pay a reasonable attorneys’ fee for services. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs pursuant to K.S.A. § 17-12a509(b)(1).

       76.     All conditions precedent to bringing this action have been complied with,

waived, excused or otherwise met by Plaintiffs.

       WHEREFORE, Plaintiffs hereby demand judgment against Defendants decreeing

the rescission of the monetary investment and consistent therewith, for restitution damages

equal to the amount of their investment of $1,000,000, plus interest thereon, together with

the reasonable attorneys’ fees and costs incurred, and any other relief this Court deems just

and proper.

                           DEMAND FOR TRIAL BY JURY

       Plaintiffs hereby demand a trial by jury of all issues so triable.


                                              Respectfully submitted,

                                              /s/ Jeffrey S. Lawrence
                                              Jeffrey S. Lawrence, #78699
                                              jeff@smithlawrence.com
                                              David R. Smith, #13664
                                              david@smithlawrence.com
                                              SMITH LAWRENCE, LC
                                              700 W. 31st Street, Suite 408
                                              Kansas City, Missouri 64108
                                              816.753.9393
                                              816.778.0957 (facsimile)
                                              Counsel for Plaintiffs




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